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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 ELECTRONIC PRIVACY INFORMATION CENTER,

         Plaintiff,

         v.                                                          Civ. Action No. 19-810 (RBW)

 UNITED STATES DEPARTMENT OF JUSTICE,

         Defendant.



                                    JOINT STATUS REPORT

       Pursuant to the Court’s Order dated October 28, 2020, Plaintiff Electronic Privacy

Information Center (“EPIC”) and Defendant U.S. Department of Justice (“DOJ”), by and

through undersigned counsel, respectfully submit this Joint Status Report. The Court ordered the

parties to “file a joint status report regarding the status of negotiations regarding attorneys’ fees

and costs.” Order, Dkt. 142.

       Since the Court issued its Order, the parties have been negotiating attorneys’ fees and

costs in this matter. On November 10, 2020, EPIC provided DOJ with a proposal to settle

attorneys’ fees and costs, and, at DOJ’s request, provided additional information to DOJ on

November 13, 2020. On November 25, 2020, DOJ provided EPIC with a counter-proposal.

EPIC is currently reviewing that counter-proposal.

       Because the parties’ negotiations regarding attorneys’ fees and costs are ongoing, the

parties respectfully propose that they continue their negotiations and file a joint status report

regarding the status of negotiations on January 28, 2021.




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Dated: December 3, 2020                 Respectfully submitted,


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